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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                   Filed: October 26, 2021

* * * * * * * * * * * * * *                               UNPUBLISHED
TARI HAFNER,               *                              No. 17-526V
                           *                              Special Master Horner
         Petitioner,       *
                           *
v.                         *
                           *
SECRETARY OF HEALTH        *                              Attorneys’ Fees and Costs
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Sidney P. Cominsky, Sidney P. Cominsky, LLC, Syracuse, NY, for Petitioner.
Lara A. Englund, United States Department of Justice, Washington, D.C., for Respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

       On April 14, 2017, Tari Hafner (“petitioner”) filed a claim under the National Childhood
Vaccine Injury Act, 42 U.S.C. § 300aa-10-34 (2012),2 alleging that she suffered idiopathic
thrombocytopenic purpura as a result of her receipt of the influenza vaccination on September 21,
2015. (ECF No. 1.) On April 17, 2020, the parties filed a stipulation, which I adopted as my
decision awarding compensation on the same day. (ECF No. 65).

         On November 12, 2020, petitioner filed an application for attorneys’ fees and costs. (ECF
No. 69) (“Fees App.”). Petitioner requests total attorneys’ fees and costs in the amount of
$41,320.79, representing $31,557.50 in fees and $9,763.29 in attorneys’ costs. Pursuant to General
Order No. 9, petitioner has indicated that she has not personally incurred any costs in pursuit of
this litigation. Fees App. Ex. 7. Respondent responded to the motion on May 10, 2021, indicating

1
 I intend to post this Ruling on the United States Court of Federal Claims’ website. This means the Ruling
will be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b), petitioner
has 14 days to identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified material fits
within this definition, I will redact such material from public access. Because this unpublished ruling
contains a reasoned explanation for the action in this case, I am required to post it on the United States
Court of Federal Claims’ website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501
note (2012) (Federal Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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that “Respondent is satisfied the statutory requirements for an award of attorneys’ fees and costs
are met in this case.” Resp. at 2 (ECF No. 70). Petitioner did not file a reply thereafter.

       This matter is now ripe for consideration.

I.     Reasonable Attorneys’ Fees and Costs

          The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e). The
Federal Circuit has approved the lodestar approach to determine reasonable attorneys’ fees and
costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1347 (Fed.
Cir. 2008). This is a two-step process. Id. at 1347-48. First, a court determines an “initial estimate
. . . by ‘multiplying the number of hours reasonably expended on the litigation times a reasonable
hourly rate.’” Id. (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court may
make an upward or downward departure from the initial calculation of the fee award based on
specific findings. Id. at 1348.

        It is “well within the special master’s discretion” to determine the reasonableness of fees.
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys’ fees and
costs.”). Applications for attorneys’ fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008). Such applications, however,
should not include hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3
F.3d at 1521 (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum, 465 U.S. at 894-95. The “prevailing market rate” is akin to the rate
“in the community for similar services by lawyers of reasonably comparable skill, experience and
reputation.” Id. at 895, n.11. Petitioners bear the burden of providing adequate evidence to prove
that the requested hourly rate is reasonable. Id.

        Special masters can reduce a fee request sua sponte, without providing petitioners notice
and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86 Fed. Cl. 201, 209
(Fed. Cl. 2009). When determining the relevant fee reduction, special masters need not engage in
a line-by-line analysis of petitioners’ fee application. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (Fed. Cl. 2011). Instead, they may rely on their experience with the
Vaccine Program to determine the reasonable number of hours expended. Wasson v. Sec’y of Dep’t
of Health & Human Servs., 24 Cl. Ct. 482, 484 (1991), rev’d on other grounds and aff’d in relevant
part, 988 F.2d 131 (Fed. Cir. 1993). Just as “[t]rial courts routinely use their prior experience to
reduce hourly rates and the number of hours claimed in attorney fee requests . . . Vaccine program
special masters are also entitled to use their prior experience in reviewing fee applications.” Saxton,
3 F.3d at 1521.




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          a. Hourly Rates

        The decision in McCulloch provides a framework for consideration of appropriate ranges
for attorneys’ fees based upon the experience of the practicing attorney. McCulloch v. Sec’y of
Health & Human Servs., No. 09-293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1,
2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
Court has since updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015–2016, 2017, 2018, 2019, and 2020 can be accessed online.3

        Petitioner requests the following hourly rates for the work of her attorneys: for Mr. Sidney
Cominsky, $370.00 per hour for work performed in 2016, $380.00 per hour for work performed
in 2017, $390.00 per hour for work performed in 2018, $400.00 per hour for work performed in
2019, and $415.00 per hour for work performed in 2020; for Ms. Jacqueline Miller, $165.00 per
hour for work performed in 2017; and for Ms. Sylvia Bode Kraus, $220.00 per hour for work
performed in 2017, $230.00 per hour for work performed in 2018, $240.00 per hour for work
performed in 2019, and $250.00 per hour for work performed in 2020. The rates requested for Mr.
Cominsky’s work are reasonable and shall be awarded herein. The rates requested for Ms. Miller
and Ms. Kraus require further discussion and reduction because neither is licensed to practice law
before the Court of Federal Claims.

        In order to be eligible to practice in the Vaccine Program, an attorney must be admitted to
practice before the Court, and thus a non-admitted attorney cannot generally recover attorney's
fees. Underwood v. Sec'y of Health & Hum. Servs., No. 00-357V, 2013 WL 3157525, at *4 (Fed.
Cl. Spec. Mstr. May 31, 2013); see also Vaccine Rule 14(a)(1). At best, non-admitted attorneys
may be compensated for work on a Program case, but only at a rate consistent with that of a non-
attorney, supportive role, akin to a paralegal. See Pearson v. Sec'y of Health & Hum. Servs., No.
17-489V, 2019 WL 7167552, at *4 (Fed. Cl. Spec. Mstr. Oct. 29, 2019) (citing Mackey v. Sec'y of
Health & Hum. Servs., No. 16-1289V, 2018 WL 3596801, at *5–6 (Fed. Cl. Spec. Mstr. May 10,
2018) (declining to compensate a non-admitted attorney at an attorney rate, but instead awarding
fees for non-attorney-level work for work performed in a supportive role)); Razka v. Sec'y of
Health & Hum. Servs., No. 14-1224V, 2017 WL 3165479, at *3 (Fed. Cl. Spec. Mstr. June 30,
2017) (citation omitted) (distinguishing rates of compensation available to admitted and non-
admitted attorneys practicing in the Vaccine Program). But work performed by a non-admitted
attorney in preparing a Vaccine Program case for filing (and hence before its actual initiation) can
be compensated at the attorney's normal rate, subject to the same reasonableness considerations
that apply in calculating any fees award. See Pearson, 2019 WL 7167552, at *4 (citing Avila v.
Sec'y of Health & Hum. Servs., No. 14-605V, 2016 WL 6995372, at *2 (Fed. Cl. Spec. Mstr. Nov.
4, 2016)); Barrett v. Sec'y of Health & Hum. Servs., No. 09-389V, 2014 WL 2505689, at *14 (Fed.
Cl. Spec. Mstr. May 13, 2014).

        With these standards in mind, I find the time billed by Ms. Miller to be reasonable because
all her work was done prior to the filing of the petitioner. For Ms. Kraus, the billing records indicate
that she billed 7.1 hours of work in 2017 prior to the filing of the petition which can be
compensated at attorney rates. However, the requested rate of $220.00 per hour for Ms. Kraus is

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    The OSM Fee Schedules are available at: http://www.cofc.uscourts.gov/node/2914.


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excessive. Ms. Kraus was admitted to practice law in 2014, giving her approximately three years
of legal experience in 2017. This appears to be Ms. Kraus’ first time doing Vaccine Program work.
The OSM Fee Schedule prescribes an hourly rate between $159.00 and $230.00 per hour for
attorneys with less than 4 years of legal experience in 2017. Given Ms. Kraus’ lack of Vaccine
Program experience, the undersigned would not except an hourly rate near the top of the range to
be reasonable. Upon review, $200.00 per hour is a reasonable rate for Ms. Kraus’ attorney work
in 2017. For the work performed after the filing of the petition, because Ms. Kraus is not barred
before the Court of Federal Claims, I find that she is not eligible to receive attorney rates and will
therefore be compensated at the highest paralegal rates for those years: $148.00 per hour for 2017,
$153.00 per hour for 2018, $156.00 per hour for 2019, and $163.00 per hour for 2020. Application
of these rates results in a reduction of $1,936.20.4

        b. Hours Expended

         Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521. While attorneys may be
compensated for non-attorney-level work, the rate must be comparable to what would be paid for
a paralegal or secretary. See O'Neill v. Sec'y of Health & Human Servs., No. 08–243V, 2015 WL
2399211, at *9 (Fed. Cl. Spec. Mstr. Apr. 28, 2015). Clerical and secretarial tasks should not be
billed at all, regardless of who performs them. See, e.g., McCulloch, 2015 WL 5634323, at *26.

         Upon review, the overall number of hours billed appears to be reasonable. I have reviewed
the billing entries and find that they adequately describe the work done on the case and the amount
of time spent on that work. I do not find any of the entries to be objectionable, nor has respondent
identified any as such. Petitioner is therefore awarded final attorneys’ fees of $29,621.30.

        c. Attorneys’ Costs

        Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $9,763.29 in attorneys’ costs, comprised of acquiring medical records, postage, the
Court’s filing fee, and work performed by petitioner’s medical expert, Dr. Edwin Forman. Fees
App. Ex. 3, 4. Petitioner has provided adequate documentation of the requested costs and they
appear to be reasonable in my experience. Petitioner is therefore awarded the full amount of costs
sought.

II.     Conclusion

       Based on all the above, I find that petitioner is entitled to the following award of reasonable
attorneys’ fees and costs:

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  2017: Attorney rates – ($220.00 per hour requested - $200.00 per hour awarded) * 7.1 hours = $142.00. Paralegal
rates – ($220.00 per hour requested - $148.00 per hour awarded) * 4.0 hours = $288.00.
2018: ($230.00 per hour requested - $153.00 per hour awarded) * 11.8 hours = $908.60.
2019: ($240.00 per hour requested - $156.00 per hour awarded) * 0.9 hours = $75.60.
2020: ($250.00 per hour requested - $163.00 per hour awarded) * 6.0 hours = $522.00.

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    Attorneys’ Fees Requested                                             $31,557.50
    (Reduction to Fees)                                                  - ($1,936.20)
    Total Attorneys’ Fees Awarded                                         $29,621.30

    Attorneys’ Costs Requested                                             $9,763.29
    (Reduction of Costs)                                                       -
    Total Attorneys’ Costs Awarded                                         $9,763.29

    Total Attorneys’ Fees and Costs                                       $39,384.59

        In accordance with the Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), I have reviewed the
billing records and costs in this case and finds that petitioner’s request for fees and costs, other
than the reductions delineated above, is reasonable. I find it reasonable to compensate petitioner
and her counsel with a lump sum in the amount of $39,384.59, representing reimbursement
for petitioner’s attorneys’ fees and costs, in the form of a check payable to petitioner and her
attorney, Sidney Cominsky, Esq.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of the
Court shall enter judgment in accordance herewith.5



         IT IS SO ORDERED.


                                                 s/Daniel T. Horner
                                                 Daniel T. Horner
                                                 Special Master




5
  Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek
review. Vaccine Rule 11(a).

                                                     5
